                Case 1-25-41368-jmm                Doc 86       Filed 06/20/25          Entered 06/20/25 18:19:42




                                       UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF New York



In Re. Avon Place LLC                                               §                  Case No. 25-41368
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 05/31/2025                                                       Petition Date: 03/21/2025

Months Pending: 2                                                                        Industry Classification:    0

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/David Goldwasser                                                          David Goldwasser
Signature of Responsible Party                                               Printed Name of Responsible Party
06/18/2025                                                                  710 Avenue L
Date                                                                        Brooklyn, NY 11230

                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Part 1: Cash Receipts and Disbursements                                               Current Month            Cumulative

a.   Cash balance beginning of month                                                               $2,726
b.   Total receipts (net of transfers between accounts)                                         $196,186                    $0
c.   Total disbursements (net of transfers between accounts)                                    $174,153                    $0
d.   Cash balance end of month (a+b-c)                                                            $24,759
e.   Disbursements made by third party for the benefit of the estate                              $79,676                   $0
f.   Total disbursements for quarterly fee calculation (c+e)                                    $253,830                    $0
Part 2: Asset and Liability Status                                                    Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                          $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                     $0
c.   Inventory       ( Book        Market      Other       (attach explanation))                         $0
d    Total current assets                                                                                $0
e.   Total assets                                                                             $40,063,599
f.   Postpetition payables (excluding taxes)                                                             $0
g.   Postpetition payables past due (excluding taxes)                                                    $0
h.   Postpetition taxes payable                                                                          $0
i.   Postpetition taxes past due                                                                         $0
j.   Total postpetition debt (f+h)                                                                       $0
k.   Prepetition secured debt                                                                 $31,685,188
l.   Prepetition priority debt                                                                           $0
m. Prepetition unsecured debt                                                                  $1,287,148
n.   Total liabilities (debt) (j+k+l+m)                                                       $32,972,336
o.   Ending equity/net worth (e-n)                                                             $7,091,263

Part 3: Assets Sold or Transferred                                                    Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                  $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                             $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                            $0                 $0

Part 4: Income Statement (Statement of Operations)                                    Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                            $194,838
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                       $0
c.   Gross profit (a-b)                                                                          $194,838
d.   Selling expenses                                                                                    $0
e.   General and administrative expenses                                                               $0
f.   Other expenses                                                                              $266,900
g.   Depreciation and/or amortization (not included in 4b)                                               $0
h.   Interest                                                                                            $0
i.   Taxes (local, state, and federal)                                                                   $0
j.   Reorganization items                                                                                $0
k.   Profit (loss)                                                                               $-72,062                   $0


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Part 5: Professional Fees and Expenses

                                                                                  Approved      Approved        Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                         Role
       i
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi


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       xl
       xli
       xlii
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       xliv
       xlv
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       lxxvii

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       ci

                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                        Role
       i
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv


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         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                                  Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                          $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                             $0                          $0
c.   Postpetition employer payroll taxes accrued                                                            $0                          $0
d.   Postpetition employer payroll taxes paid                                                               $0                          $0
e.   Postpetition property taxes paid                                                                       $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                           $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                              $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)           Yes       No
b.   Were any payments made outside the ordinary course of business                   Yes       No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                              Yes       No
d.   Are you current on postpetition tax return filings?                              Yes       No
e.   Are you current on postpetition estimated tax payments?                          Yes       No
f.   Were all trust fund taxes remitted on a current basis?                           Yes       No
g.   Was there any postpetition borrowing, other than trade credit?                   Yes       No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by              Yes       No     N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                         Yes       No
                                  If yes, are your premiums current?                  Yes       No     N/A       (if no, see Instructions)
                             Casualty/property insurance?                             Yes       No
                                 If yes, are your premiums current?                   Yes       No     N/A       (if no, see Instructions)
                             General liability insurance?                             Yes       No
                                 If yes, are your premiums current?                   Yes       No     N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                          Yes       No
k.   Has a disclosure statement been filed with the court?                            Yes       No
l.   Are you current with quarterly U.S. Trustee fees as                              Yes       No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/David Goldwasser                                                             David Goldwasser
Signature of Responsible Party                                                  Printed Name of Responsible Party

CRO                                                                             06/18/2025
Title                                                                           Date




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In Re. Avon Place LLC
Case No. 25-41368
                              Statement of Cash Receipts and Disbursements
                                                 May-25
     Receipts:          Amount                       Memo
                                        192,714.86 Rental Income




          Total Receipts: $              192,714.86

                                              30.00 Bank Fee
                                           4,752.00 Cleaning
                                           2,427.94 Internet/Phone
                                           7,234.00 Landscaping
                                          19,106.79 M&R
                                            21320.4 Payroll-Admin
                                               8600 Payroll-Maintenance
                                           3,000.00 Realtor Fees
                                          13,235.37 Waste Disposal
                                            60,779.92 Insurance
                                          113,343.39 Adequate Protection

    Total Disbursements: $               253,829.81
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Avon Place LLC
Case 1-25-41368-jmm
Monthly Varience Report
May-25

                                                 Budget           Actual        Varience      Varience %
Income
  Rental Income                                $273,001.13     $192,714.86    ($80,286.27)       71%
Total Income                                   $273,001.13     $192,714.86    ($80,286.27)       71%

Operating Expenses
 Advertising                                    $2,678.55        $3,000.00      ($321.45)        -12%
 All Waste                                      $4,440.70       $13,235.37     ($8,794.67)      -198%
 Bouras Landscaping                            $15,365.00        $7,234.00     $8,131.00         53%
 Bramans Pest                                    $535.70                        $535.70         100%
 Century Pools                                  $1,071.45                      $1,071.45        100%
 Comcast                                        $1,171.80       $2,427.94      ($1,256.14)      -107%
 Hamlin Contracting                             $8,928.55                      $8,928.55        100%
 Insurance                                     $17,014.90       $60,779.92    ($43,765.02)      -257%
 Kings Communication                             $214.30                        $214.30         100%
 Maintenance & Repair                          $12,500.00       $19,106.79     ($6,606.79)       -53%
 Property Management Fee (2%)                   $5,460.02        $8,630.00     ($3,169.98)       -58%
 Orange Cleaning                                $3,014.00        $4,752.00     ($1,738.00)       -58%
 Otis Elevator                                   $928.55                        $928.55         100%
 Payroll                                       $15,625.00       $21,320.40     ($5,695.40)       -36%
 Bankruptcy Advisory Fees (CRO)                 $20,000.00                     $20,000.00       100%
 Taxes                                         $63,125.00                     $63,125.00        100%
 Utilities (Water/Sewer/Electric/Gas)           $41,071.45                     $41,071.45       100%
Tota Operating Expenses                        $213,144.97     $140,486.42    $72,658.55          73%

Net Operating Income                           $59,856.16       $52,228.44    ($152,944.82)      -3%

Debt Service
 Loan Payment & LOC PMT                        $113,343.39     $113,343.39       $0.00           0%
Total Debt Service                             $113,343.39     $113,343.39       $0.00           0%

Net Cash Flow                                  $102,513.42     ($61,114.95)   ($163,628.37)     -60%
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                                                                                                                                                                                                                9        21      5+
                       🔍   Search Buildium                                                                                                                            Empire Realty USA Corp             ✨            🗩         🔔


    Dashboard

🏢    Rentals
                       General ledger                                                                                                                         Record general journal entry          View locked periods


    Leasing

🖩    Accounting            PROPERTY OR COMPANY               UNIT                                    ACCOUNTS

                              Avon Place                        All (184)                                 Multiple (4)
🔧    Maintenance

    Tasks
                           DATE RANGE                         FROM                       TO                          ACCOUNTING BASIS            INCLUDE
                                                                                                                                                                                                             Search
    Communication            Custom                                4/1/2025                  4/30/2025                  Cash        Accrual           Fund Type

📂    Files

    Reports               4 matches
                           DATE
    Analytics Hub         (CASH           PROPERTY OR COMPANY                 UNIT                    NAME                           DESCRIPTION                                            AMOUNT                 BALANCE
                           BASIS)

🧩    Add-on services         Convenience Fee

🔖    Shortcuts
                           PRIOR BALANCE                                                                                                                                                                        $10,939.06

                                                                                                       Unit 48-108 - Joshua
                           4/1/2025        Avon Place                          48-108                                                 by Joshua McLamb                                        $56.06            $10,995.12
                                                                                                       McLamb

                                                                                                       Unit 48-211 - Donna
🧩    Integrations          4/3/2025        Avon Place                          48-211                                                 by Donna McCormick                                      $47.84            $11,042.96
                                                                                                       McCormick

                                                                                                       Unit 48-212 -
    Help & Support        4/4/2025        Avon Place                          48-212                                                 by Cassondra Tinley                                     $65.78                $11,108.74
                                                                                                       Cassondra Tinley

⚙    Settings                                                                                          Unit 47-212 - Cole
                           4/5/2025        Avon Place                          47-212                                                 by Cole Haymond                                         $31.40                $11,140.14
                                                                                                       Haymond
BH   Account
                                                                                                       Unit 47-212 - Cole
                           4/5/2025        Avon Place                          47-212                                                 by Cole Haymond                                         $31.40                $11,171.54
                                                                                                       Haymond

                                                                                                       Unit 48-218 - Gayane
                           4/11/2025       Avon Place                          48-218                                                 by Gayane Genov                                         $53.07             $11,224.61
                                                                                                       Genov

                                                                                                       Unit 48-305 -
                           4/18/2025       Avon Place                          48-305                  Konstantia                     by Konstantia Papapateras                               $20.87            $11,245.48
                                                                                                       Papapateras

                                                                                                       Unit 44-102 - Vilmary
                           4/28/2025       Avon Place                          44-102                                                 by Vilmary Pastrana                                      $19.44           $11,264.92
                                                                                                       Pastrana

                           Total Convenience Fee                                                                                                                                         $325.86               $11,264.92

                             Late Fee Income

                           PRIOR BALANCE                                                                                                                                                                            $12,377.17

                                                                                                       Unit 47-310* - Tara
                           4/11/2025       Avon Place                          47-310*                                                by Tara Dean                                            $50.00                $12,427.17
                                                                                                       Dean

                                                                                                       Unit 48-218 - Gayane
                           4/11/2025       Avon Place                          48-218                                                 by Gayane Genov                                         $50.00                $12,477.17
                                                                                                       Genov

                                                                                                       Unit 48-320 - Bernie
                           4/30/2025       Avon Place                          48-320                                                 by Bernie Hernandez                                     $50.00                $12,527.17
                                                                                                       Hernandez

                           Total Late Fee Income                                                                                                                                             $150.00            $12,527.17

                             Other Income

                           PRIOR BALANCE                                                                                                                                                                       $28,025.00

                                                                                                       Unit 48-206 -
                           4/1/2025        Avon Place                          48-206                                                 by Manickavel Ramar                                     $25.00           $28,050.00
                                                                                                       Manickavel Ramar

                                                                                                       Unit 47-114 - Laura
                           4/3/2025        Avon Place                          47-114                                                 by Laura Fern                                           $25.00           $28,075.00
                                                                                                       Fern

                                                                                                                                      REVERSED - (R01) Balance is not
                                                                                                       Unit 46-B - Tammy
                           4/3/2025        Avon Place                          46-B                                                   suﬃcient to cover value of                             ($25.00)          $28,050.00
                                                                                                       Samperi
                                                                                                                                      transaction.: by Tammy Samperi

                                                                                                       Unit 48-203 - Robin
                           4/7/2025        Avon Place                          48-203                                                 by Robin Lindsey                                        $25.00           $28,075.00
                                                                                                       Lindsey

                           Total Other Income                                                                                                                                                $50.00           $28,075.00

                             Rent Income

                           PRIOR BALANCE                                                                                                                                                                     $7,654,855.92

                           4/1/2025        Avon Place                          46-B                    Unit 46-B                      Prepayment applied to balances                     $1,225.00           $7,656,080.92

                           4/1/2025        Avon Place                          47-208                  Unit 47-208                    Prepayment applied to balances                     $1,800.00           $7,657,880.92

                           4/1/2025        Avon Place                          47-210                  Unit 47-210                    Prepayment applied to balances                     $1,025.00           $7,658,905.92

                           4/1/2025        Avon Place                          48-111                  Unit 48-111                    Prepayment applied to balances                     $1,700.00           $7,660,605.92

                           4/1/2025        Avon Place                          48-306                  Unit 48-306                    Prepayment applied to balances                     $1,350.00           $7,661,955.92

                           4/1/2025        Avon Place                          48-307                  Unit 48-307                    Prepayment applied to balances                    $2,050.00            $7,664,005.92

                           4/1/2025        Avon Place                          48-312                  Unit 48-312                    Prepayment applied to balances                     $1,950.00           $7,665,955.92

                           4/1/2025        Avon Place                          47-211*                 Unit 47-211*                   Prepayment applied to balances                     $1,750.00           $7,667,705.92

                           4/1/2025        Avon Place                          47-310*                 Unit 47-310*                   Prepayment applied to balances                         $975.00         $7,668,680.92

                                                                                                       Unit 48-109 -
                                                                                                       Muthukrishnan                  by Muthukrishnan Krishnasamy
                           4/1/2025        Avon Place                          48-109
                                                                                                                                      Sundararajan
                                                                                                                                                                                         $2,175.00           $7,670,855.92
                                                                                                       Krishnasamy
                                                                                                       Sundararajan

                                                                                                       Unit 48-221 -
                           4/1/2025        Avon Place                          48-221                  Seenivasan                     by Seenivasan Somasundaram                         $1,650.00           $7,672,505.92
                                                                                                       Somasundaram

                                                                                                       Unit 47-104 - Devon
                           4/1/2025        Avon Place                          47-104                                                 by Devon Root                                      $1,550.00           $7,674,055.92
                                                                                                       Root

                                                                                                       Unit 47-104 - Devon
                           4/1/2025        Avon Place                          47-104                                                 by Devon Root                                          $200.00         $7,674,255.92
                                                                                                       Root

                                                                                                       Unit 48-202 - Weiling
                           4/1/2025        Avon Place                          48-202                                                 by Weiling Li                                      $1,950.00           $7,676,205.92
                                                                                                       Li

                                                                                                       Unit 47-314 - Amy
                           4/1/2025        Avon Place                          47-314                                                 by Amy Arlin                                       $2,150.00           $7,678,355.92
                                                                                                       Arlin

                                                                                                       Unit 47-203* -
                           4/1/2025        Avon Place                          47-203*                                                by Carmen Baig                                         $243.00         $7,678,598.92
                                                                                                       Carmen Baig

                                                                                                       Unit 47-112 - Idrissa
                           4/1/2025        Avon Place                          47-112                                                 by Idrissa Thioune                                 $1,900.00           $7,680,498.92
                                                                                                       Thioune

                                                                                                       Unit 47-320 - Travis
                           4/1/2025        Avon Place                          47-320                                                 by Travis Schoen                                   $1,925.00           $7,682,423.92
                                                                                                       Schoen

                           4/1/2025        Avon Place                          47-214                  Unit 47-214 - Siji John        by Siji John                                       $1,850.00           $7,684,273.92

                                                                                                       Unit 47-120 - Vijay
                           4/1/2025        Avon Place                          47-120                                                 by Vijay Krishna                                  $2,000.00            $7,686,273.92
                                                                                                       Krishna

                                                                                                       Unit 47-210 - Felipe
                           4/1/2025        Avon Place                          47-210                                                 by Felipe Rodriguez                                $1,025.00           $7,687,298.92
                                                                                                       Rodriguez

                                                                                                       Unit 48-206 -
                           4/1/2025        Avon Place                          48-206                                                 by Manickavel Ramar                                $1,925.00           $7,689,223.92
                                                                                                       Manickavel Ramar

                                                                                                       Unit 48-119* - Grace
                           4/1/2025        Avon Place                          48-119*                                                by Grace Wickstrom                                     $866.00         $7,690,089.92
                                                                                                       Wickstrom

                                                                                                       Unit 47-302 -
                           4/1/2025        Avon Place                          47-302                                                 by Bhavana Thakur                                  $1,800.00           $7,691,889.92
                                                                                                       Bhavana Thakur

                                                                                                       Unit 47-306 - Adam
                           4/1/2025        Avon Place                          47-306                                                 by Adam Arakelian                                  $1,925.00           $7,693,814.92
                                                                                                       Arakelian

                                                                                                       Unit 48-116 - Jennifer
                           4/1/2025        Avon Place                          48-116                                                 by Jennifer Gomez                                  $1,840.00           $7,695,654.92
                                                                                                       Gomez

                                                                                                       Unit 48-316 - Tania
                           4/1/2025        Avon Place                          48-316                                                 by Tania Pimentel                                      $800.00         $7,696,454.92
                                                                                                       Pimentel

                                                                                                       Unit 48-108 - Joshua
                           4/1/2025        Avon Place                          48-108                                                 by Joshua McLamb                                   $1,875.00           $7,698,329.92
                                                                                                       McLamb

                                                                                                       Unit 47-218 - Kyle
                           4/1/2025        Avon Place                          47-218                                                 by Kyle Pisko                                      $1,950.00           $7,700,279.92
                                                                                                       Pisko

                                                                                                       Unit 47-117 - Michael
                           4/1/2025        Avon Place                          47-117                                                 by Michael Sullivan                               $2,000.00            $7,702,279.92
                                                                                                       Sullivan

                                                                                                       Unit 47-110* - sharon
                           4/1/2025        Avon Place                          47-110*                                                by sharon moynihan                                 $1,900.00            $7,704,179.92
                                                                                                       moynihan

                           4/1/2025        Avon Place                          44-104*                 Unit 44-104*                   Deposit applied to balances                        $1,450.00           $7,705,629.92

                           4/1/2025        Avon Place                          47-102                  Unit 47-102                    Deposit applied to balances                        $1,800.00           $7,707,429.92

                           4/1/2025        Avon Place                          48-114                  Unit 48-114                    Deposit applied to balances                       $2,050.00            $7,709,479.92

                           4/1/2025        Avon Place                          48-207                  Unit 48-207                    Deposit applied to balances                            $500.00         $7,709,979.92

                                                                                                       Unit 48-305 -
                           4/2/2025        Avon Place                          48-305                  Konstantia                     by Konstantia Papapateras                          $1,000.00            $7,710,979.92
                                                                                                       Papapateras

                           4/2/2025        Avon Place                          47-207                  Unit 47-207                    Payment                                            $1,800.00            $7,712,779.92

                                                                                                       Unit 44-206 - Marie
                           4/2/2025        Avon Place                          44-206                                                 Payment                                            $1,800.00            $7,714,579.92
                                                                                                       Garcia

                                                                                                       Unit 48-308 - Sahirah
                           4/2/2025        Avon Place                          48-308                                                 by Sahirah Muhammad                                $1,950.00           $7,716,529.92
                                                                                                       Muhammad

                                                                                                       Unit 48-315* - Karen
                           4/2/2025        Avon Place                          48-315*                                                Payment                                            $1,850.00            $7,718,379.92
                                                                                                       Bissett

                                                                                                       Unit 47-116 - Ravinder
                           4/3/2025        Avon Place                          47-116                                                 by Ravinder Rishi                                  $2,150.00           $7,720,529.92
                                                                                                       Rishi

                                                                                                       Unit 48-103 - Rohit
                           4/3/2025        Avon Place                          48-103                                                 by Rohit Kumar                                    $2,350.00            $7,722,879.92
                                                                                                       Kumar

                                                                                                       Unit 47-115 - jeﬀrey
                           4/3/2025        Avon Place                          47-115                                                 by jeﬀrey kudile                                   $2,125.00           $7,725,004.92
                                                                                                       kudile

                           4/3/2025        Avon Place                          47-313                  Unit 47-313                    Payment                                            $1,925.00           $7,726,929.92

                                                                                                       Unit 47-114 - Laura
                           4/3/2025        Avon Place                          47-114                                                 by Laura Fern                                      $1,875.00           $7,728,804.92
                                                                                                       Fern

                                                                                                       Unit 44-109 -
                           4/3/2025        Avon Place                          44-109                  Mubulayi Jean-                 Payment                                           $2,000.00            $7,730,804.92
                                                                                                       Claude Diyoka

                                                                                                       Unit 48-211 - Donna
                           4/3/2025        Avon Place                          48-211                                                 by Donna McCormick                                 $1,600.00           $7,732,404.92
                                                                                                       McCormick

                                                                                                                                      REVERSED - (R01) Balance is not
                                                                                                       Unit 46-B - Tammy
                           4/3/2025        Avon Place                          46-B                                                   suﬃcient to cover value of                         ($200.00)           $7,732,204.92
                                                                                                       Samperi
                                                                                                                                      transaction.: by Tammy Samperi

                                                                                                       Unit 48-317 - Jaagruti
                           4/3/2025        Avon Place                          48-317                                                 by Jaagruti Mishra                                 $1,600.00           $7,733,804.92
                                                                                                       Mishra

                                                                                                       Unit 47-118 - Sara
                           4/4/2025        Avon Place                          47-118                                                 by Sara Thanh                                          $875.00         $7,734,679.92
                                                                                                       Thanh

                                                                                                       Unit 48-208 - John
                           4/4/2025        Avon Place                          48-208                                                 by John Pendleton                                  $1,600.00           $7,736,279.92
                                                                                                       Pendleton

                                                                                                       Unit 47-103 - Mercy
                           4/4/2025        Avon Place                          47-103                                                 by Mercy Nyaata                                   $2,500.00            $7,738,779.92
                                                                                                       Nyaata

                                                                                                       Unit 48-310 - Amanda
                           4/4/2025        Avon Place                          48-310                                                 by Amanda Nowak                                    $1,600.00           $7,740,379.92
                                                                                                       Nowak

                                                                                                       Unit 47-109 -
                           4/4/2025        Avon Place                          47-109                                                 by Alexander Nguyen                               $2,050.00            $7,742,429.92
                                                                                                       Alexander Nguyen

                                                                                                       Unit 47-309 - Kwame
                           4/4/2025        Avon Place                          47-309                                                 by Kwame Appiah                                    $1,000.00           $7,743,429.92
                                                                                                       Appiah

                                                                                                       Unit 48-212 -
                           4/4/2025        Avon Place                          48-212                                                 by Cassondra Tinley                               $2,200.00            $7,745,629.92
                                                                                                       Cassondra Tinley

                                                                                                       Unit 47-212 - Cole
                           4/5/2025        Avon Place                          47-212                                                 by Cole Haymond                                    $1,050.00           $7,746,679.92
                                                                                                       Haymond

                                                                                                       Unit 47-212 - Cole
                           4/5/2025        Avon Place                          47-212                                                 by Cole Haymond                                    $1,050.00            $7,747,729.92
                                                                                                       Haymond

                                                                                                       Unit 46-A - Karen
                           4/5/2025        Avon Place                          46-A                                                   by Karen Cosgrove                                  $1,475.00           $7,749,204.92
                                                                                                       Cosgrove

                                                                                                       Unit 47-209 - Karthik
                           4/5/2025        Avon Place                          47-209                                                 by Karthik Jayaraman                               $1,800.00           $7,751,004.92
                                                                                                       Jayaraman

                                                                                                       Unit 48-210 - Hal
                           4/6/2025        Avon Place                          48-210                                                 by Hal Sacks                                       $1,560.00           $7,752,564.92
                                                                                                       Sacks

                                                                                                       Unit 48-302 - Suresh
                           4/6/2025        Avon Place                          48-302                                                 by Suresh Kumar                                    $1,930.00           $7,754,494.92
                                                                                                       Kumar

                                                                                                       Unit 48-217 -
                           4/7/2025        Avon Place                          48-217                                                 Payment                                           $2,050.00            $7,756,544.92
                                                                                                       Abdullatif Althbyany

                                                                                                       Unit 48-203 - Robin
                           4/7/2025        Avon Place                          48-203                                                 by Robin Lindsey                                  $2,250.00            $7,758,794.92
                                                                                                       Lindsey

                                                                                                       Unit 48-118 - Joanne
                           4/7/2025        Avon Place                          48-118                                                 Payment                                            $1,700.00           $7,760,494.92
                                                                                                       Madsen

                           4/7/2025        Avon Place                          47-307                  Unit 47-307                    Payment                                                $962.00         $7,761,456.92

                                                                                                                                      REVERSED - (R01) Balance is not
                                                                                                       Unit 48-305 -
                                                                                                                                      suﬃcient to cover value of
                           4/7/2025        Avon Place                          48-305                  Konstantia
                                                                                                                                      transaction.: by Konstantia
                                                                                                                                                                                        ($1,000.00)          $7,760,456.92
                                                                                                       Papapateras
                                                                                                                                      Papapateras

                                                                                                       Unit 47-319* -
                           4/8/2025        Avon Place                          47-319*                                                by Venkata Miriyala                                $1,850.00           $7,762,306.92
                                                                                                       Venkata Miriyala

                                                                                                       Unit 47-312 - Rick
                           4/8/2025        Avon Place                          47-312                                                 by Rick Thomas                                    $2,000.00            $7,764,306.92
                                                                                                       Thomas

                                                                                                       Unit 47-107 - Tom
                           4/8/2025        Avon Place                          47-107                                                 by Tom Preston                                     $1,700.00           $7,766,006.92
                                                                                                       Preston

                                                                                                       Unit 47-108 - Sandy
                           4/8/2025        Avon Place                          47-108                                                 Payment                                            $1,415.00            $7,767,421.92
                                                                                                       Knight

                                                                                                       Unit 46-B - Tammy
                           4/8/2025        Avon Place                          46-B                                                   by Tammy Samperi                                       $225.00         $7,767,646.92
                                                                                                       Samperi

                                                                                                       Unit 44-213* - John
                           4/8/2025        Avon Place                          44-213*                                                Payment                                            $1,950.00           $7,769,596.92
                                                                                                       Barisano

                                                                                                       Unit 47-309 - Kwame
                           4/8/2025        Avon Place                          47-309                                                 by Kwame Appiah                                    $1,000.00           $7,770,596.92
                                                                                                       Appiah

                                                                                                       Unit 44-101 - Ganga
                           4/9/2025        Avon Place                          44-101                                                 by Ganga Gudimetla                                 $1,800.00           $7,772,396.92
                                                                                                       Gudimetla

                                                                                                       Unit 48-313 - Waseem
                           4/9/2025        Avon Place                          48-313                                                 by Waseem Islam                                   $2,075.00             $7,774,471.92
                                                                                                       Islam

                                                                                                       Unit 48-105 - Sheryl
                           4/9/2025        Avon Place                          48-105                                                 Payment                                                 $211.00        $7,774,682.92
                                                                                                       Duby

                                                                                                       Unit 48-110 - Rebecca
                           4/9/2025        Avon Place                          48-110                                                 by Rebecca Bowling                                $2,025.00             $7,776,707.92
                                                                                                       Bowling

                                                                                                       Unit 48-219 - Rhonda
                           4/9/2025        Avon Place                          48-219                                                 Payment                                           $2,623.00            $7,779,330.92
                                                                                                       Heard

                                                                                                       Unit 44-305 -
                           4/9/2025        Avon Place                          44-305                                                 Payment                                            $1,950.00           $7,781,280.92
                                                                                                       Lawrence Friel

                                                                                                       Unit 47-219 - Josefina
                           4/9/2025        Avon Place                          47-219                                                 Payment                                            $1,970.00           $7,783,250.92
                                                                                                       Tolo

                                                                                                       Unit 48-209 - Ricardo
                           4/9/2025        Avon Place                          48-209                                                 by Ricardo Ramirez Jr                             $2,050.00            $7,785,300.92
                                                                                                       Ramirez Jr

                                                                                                       Unit 47-201 - Wayne
                           4/9/2025        Avon Place                          47-201                                                 by Wayne Deroy                                     $1,850.00            $7,787,150.92
                                                                                                       Deroy

                                                                                                       Unit 47-206 - Senthil
                           4/9/2025        Avon Place                          47-206                                                 by Senthil Chidambaram                             $1,850.00           $7,789,000.92
                                                                                                       Chidambaram

                                                                                                       Unit 47-315 - Douglas
                           4/10/2025       Avon Place                          47-315                                                 by Douglas Brown                                   $2,150.00            $7,791,150.92
                                                                                                       Brown

                                                                                                       Unit 47-305 - Linda
                           4/10/2025       Avon Place                          47-305                                                 by Linda March                                     $1,950.00            $7,793,100.92
                                                                                                       March

                                                                                                       Unit 48-104 - Kenneth
                           4/10/2025       Avon Place                          48-104                                                 by Kenneth Heyne                                   $1,725.00           $7,794,825.92
                                                                                                       Heyne

                                                                                                       Unit 48-204 -
                           4/10/2025       Avon Place                          48-204                  Rohitkumar Babulal             by Rohitkumar Babulal Patel                        $1,600.00           $7,796,425.92
                                                                                                       Patel

                                                                                                       Unit 48-205 - Kirby
                           4/10/2025       Avon Place                          48-205                                                 by Kirby Huget                                     $2,100.00           $7,798,525.92
                                                                                                       Huget

                                                                                                       Unit 48-119* - Grace
                           4/10/2025       Avon Place                          48-119*                                                by Grace Wickstrom                                 $1,734.00           $7,800,259.92
                                                                                                       Wickstrom

                                                                                                       Unit 44-102 - Vilmary
                           4/10/2025       Avon Place                          44-102                                                 by Vilmary Pastrana                               $2,000.00            $7,802,259.92
                                                                                                       Pastrana

                                                                                                       Unit 47-303 - Dorcas
                           4/10/2025       Avon Place                          47-303                                                 by Dorcas Mensah                                  $2,500.00            $7,804,759.92
                                                                                                       Mensah

                                                                                                       Unit 47-118 - Sara
                           4/11/2025       Avon Place                          47-118                                                 by Sara Thanh                                          $875.00         $7,805,634.92
                                                                                                       Thanh

                                                                                                       Unit 47-310* - Tara
                           4/11/2025       Avon Place                          47-310*                                                by Tara Dean                                           $975.00         $7,806,609.92
                                                                                                       Dean

                                                                                                       Unit 47-318 - Rachel
                           4/11/2025       Avon Place                          47-318                                                 Payment                                           $2,450.00            $7,809,059.92
                                                                                                       Kennedy

                                                                                                       Unit 48-314 - Jeﬀrey
                           4/11/2025       Avon Place                          48-314                                                 Payment                                            $1,850.00           $7,810,909.92
                                                                                                       Sherman

                                                                                                       Unit 48-218 - Gayane
                           4/11/2025       Avon Place                          48-218                                                 by Gayane Genov                                    $1,725.00           $7,812,634.92
                                                                                                       Genov

                           4/11/2025       Avon Place                          48-311                  Unit 48-311                    Payment                                            $1,950.00           $7,814,584.92

                                                                                                       Unit 47-203* -
                           4/11/2025       Avon Place                          47-203*                                                Payment                                            $2,157.00            $7,816,741.92
                                                                                                       Carmen Baig

                                                                                                       Unit 48-120 - Michele
                           4/11/2025       Avon Place                          48-120                                                 Payment                                            $1,925.00           $7,818,666.92
                                                                                                       Kyles

                                                                                                       Unit 47-119* - Amanda
                           4/11/2025       Avon Place                          47-119*                                                Payment                                            $2,414.00           $7,821,080.92
                                                                                                       Ortiz

                                                                                                       Unit 47-213 - Damaris
                           4/11/2025       Avon Place                          47-213                                                 Payment                                           $3,554.00            $7,824,634.92
                                                                                                       Sanchez

                                                                                                       Unit 47-316 - Miguel
                           4/14/2025       Avon Place                          47-316                                                 Payment                                                $600.00         $7,825,234.92
                                                                                                       Espada

                                                                                                       Unit 47-220 - Quincy
                           4/14/2025       Avon Place                          47-220                                                 Payment                                           $2,075.00            $7,827,309.92
                                                                                                       Biggs

                           4/14/2025       Avon Place                          48-112                  Unit 48-112                    Payment                                            $1,851.00           $7,829,160.92

                                                                                                       Unit 47-202 - Asha
                           4/14/2025       Avon Place                          47-202                                                 Payment                                            $1,925.00           $7,831,085.92
                                                                                                       Ismail

                                                                                                       Unit 48-303 - Liyu
                           4/14/2025       Avon Place                          48-303                                                 Payment                                            $1,250.00           $7,832,335.92
                                                                                                       Han

                                                                                                       Unit 47-216 - Lindsey
                           4/14/2025       Avon Place                          47-216                                                 by Lindsey Smith                                       $634.00         $7,832,969.92
                                                                                                       Smith

                                                                                                                                      REVERSED - (R01) Balance is not
                                                                                                       Unit 44-102 - Vilmary
                           4/14/2025       Avon Place                          44-102                                                 suﬃcient to cover value of                       ($2,000.00)           $7,830,969.92
                                                                                                       Pastrana
                                                                                                                                      transaction.: by Vilmary Pastrana

                                                                                                       Unit 47-317 - Bwana
                           4/15/2025       Avon Place                          47-317                                                 Payment                                            $3,100.00           $7,834,069.92
                                                                                                       Yusuf

                                                                                                       Unit 48-117 - John
                           4/15/2025       Avon Place                          48-117                                                 by John Parent                                     $1,000.00           $7,835,069.92
                                                                                                       Parent

                                                                                                       Unit 47-216 - Skylar
                           4/15/2025       Avon Place                          47-216                                                 by Skylar Fox                                          $633.00         $7,835,702.92
                                                                                                       Fox

                                                                                                       Unit 47-213 - Damaris
                           4/17/2025       Avon Place                          47-213                                                 by Damaris Sanchez                                     $650.00         $7,836,352.92
                                                                                                       Sanchez

                                                                                                       Unit 48-305 -
                           4/18/2025       Avon Place                          48-305                  Konstantia                     by Konstantia Papapateras                              $698.00         $7,837,050.92
                                                                                                       Papapateras

                                                                                                       Unit 48-305 -
                           4/18/2025       Avon Place                          48-305                  Konstantia                     by Konstantia Papapateras                               $281.13        $7,837,332.05
                                                                                                       Papapateras

                                                                                                       Unit 48-305 -
                           4/18/2025       Avon Place                          48-305                  Konstantia                     by Konstantia Papapateras                               $20.87         $7,837,352.92
                                                                                                       Papapateras

                                                                                                       Unit 47-204 - Barbara
                           4/21/2025       Avon Place                          47-204                                                 by Barbara Paine                                   $1,900.00           $7,839,252.92
                                                                                                       Paine

                                                                                                                                      REVERSED - (R01) Balance is not
                                                                                                       Unit 48-305 -
                                                                                                                                      suﬃcient to cover value of
                           4/23/2025       Avon Place                          48-305                  Konstantia
                                                                                                                                      transaction.: by Konstantia
                                                                                                                                                                                             ($20.87)        $7,839,232.05
                                                                                                       Papapateras
                                                                                                                                      Papapateras

                                                                                                                                      REVERSED - (R01) Balance is not
                                                                                                       Unit 48-305 -
                                                                                                                                      suﬃcient to cover value of
                           4/23/2025       Avon Place                          48-305                  Konstantia
                                                                                                                                      transaction.: by Konstantia
                                                                                                                                                                                             ($281.13)       $7,838,950.92
                                                                                                       Papapateras
                                                                                                                                      Papapateras

                                                                                                       Unit 48-117 - John
                           4/23/2025       Avon Place                          48-117                                                 by John Parent                                     $1,000.00           $7,839,950.92
                                                                                                       Parent

                                                                                                       Unit 47-119* - Amanda
                           4/24/2025       Avon Place                          47-119*                                                Payment                                                 $119.00        $7,840,069.92
                                                                                                       Ortiz

                                                                                                       Unit 48-117 - John
                           4/25/2025       Avon Place                          48-117                                                 by John Parent                                         $800.00         $7,840,869.92
                                                                                                       Parent

                                                                                                       Unit 48-117 - John
                           4/25/2025       Avon Place                          48-117                                                 by John Parent                                          $25.00         $7,840,894.92
                                                                                                       Parent

                                                                                                       Unit 48-306 - Elijah
                           4/27/2025       Avon Place                          48-306                                                 by Elijah Rosenthal                                    $300.00          $7,841,194.92
                                                                                                       Rosenthal

                                                                                                       Unit 47-101 - Venkata
                           4/27/2025       Avon Place                          47-101                                                 by Venkata Simharaja                               $1,950.00           $7,843,144.92
                                                                                                       Simharaja

                                                                                                       Unit 44-102 - Vilmary
                           4/28/2025       Avon Place                          44-102                                                 by Vilmary Pastrana                                    $650.00         $7,843,794.92
                                                                                                       Pastrana

                                                                                                       Unit 47-111 - Joshua
                           4/28/2025       Avon Place                          47-111                                                 Payment                                            $1,875.00           $7,845,669.92
                                                                                                       Popielarczyk

                                                                                                                                      REVERSED - (R16) Funds
                                                                                                       Unit 48-117 - John
                           4/29/2025       Avon Place                          48-117                                                 unavailable due to action by RDFI or              ($1,000.00)          $7,844,669.92
                                                                                                       Parent
                                                                                                                                      other legal action.: by John Parent

                           4/30/2025       Avon Place                          48-117                  Unit 48-117                    Prepayment applied to balances                         $175.00         $7,844,844.92

                                                                                                       Unit 48-119* - Grace
                           4/30/2025       Avon Place                          48-119*                                                by Grace Wickstrom                                      $50.00         $7,844,894.92
                                                                                                       Wickstrom

                                                                                                       Unit 48-320 - Bernie
                           4/30/2025       Avon Place                          48-320                                                 by Bernie Hernandez                                $2,150.00           $7,847,044.92
                                                                                                       Hernandez

                                                                                                                                                                                                             $7,847,044.9
                           Total Rent Income                                                                                                                                          $192,189.00
                                                                                                                                                                                                                        2




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                                                                                                                                                                                                         + Compose email
                                      Case 1-25-41368-jmm         Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                 Prepared By: Empire Realty USA Corp
                                                                         Rent Paid
                                                                  5/1/2025 - 5/31/2025, Avon Place


                                                                   Recurring Charges                             Amount Paid
                                                                                                                                             Previous
     Unit       Tenant          Lease start   Lease end        Rent     Non-Rent           Total         Rent      Non-Rent        Total      Balance    Balance Due


 A v on Place
   44-101       Ganga Gudi      10/27/2024    10/31/2025    1,800.00         0.00      1,800.00       1,800.00          0.00   1,800.00          0.00           0.00
                metla
   44-102       Vilmary Past      1/1/2025    12/31/2025    2,000.00         0.00      2,000.00      3,350.00          90.36   3,440.36      1,350.00           0.00
                rana
   44-104*      David Ossori      2/1/2023     5/14/2025    1,775.00         0.00      1,775.00          0.00           0.00       0.00      2,200.00       4,025.00
                o
   44-108       William Ryan      5/1/2025    4/30/2026     1,850.00         0.00      1,850.00          0.00           0.00       0.00          0.00       3,700.00
   44-109       Mubulayi Je       11/1/2024   10/31/2025    2,000.00         0.00      2,000.00      2,000.00           0.00   2,000.00          0.00           0.00
                an-Claude Di
                yoka
   44-206       Martin Garci     10/1/2022    4/30/2026     1,800.00         0.00      1,800.00       1,800.00          0.00   1,800.00          0.00           0.00
                a, Marie Gar
                cia
   44-213*      John Barisa     10/17/2024    10/31/2025    1,950.00         0.00      1,950.00       1,950.00          0.00   1,950.00     (1,950.00)     (1,950.00)
                no
   44-305       Lawrence Fri     10/1/2022    4/30/2026     1,950.00         0.00      1,950.00       1,950.00          0.00   1,950.00          0.00           0.00
                el
   46-A         Karen Cosgr      10/1/2022        At will   1,475.00         0.00      1,475.00       1,475.00          0.00   1,475.00          0.00           0.00
                ove
   46-B         Tammy Sam        10/1/2022        At will   1,450.00        25.00      1,475.00       1,650.00       255.32    1,905.32     (1,225.00)     (1,475.00)
                peri
   47-101       Venkata Sim      10/1/2022     8/31/2025    1,950.00         0.00      1,950.00       1,950.00         50.00   2,000.00         50.00          50.00
                haraja
   47-102       Yamileth No     10/11/2023        At will   2,000.00         0.00      2,000.00          0.00           0.00       0.00      2,300.00       4,350.00
                rberto


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                                      Case 1-25-41368-jmm         Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                 Prepared By: Empire Realty USA Corp
                                                                         Rent Paid
                                                                  5/1/2025 - 5/31/2025, Avon Place


                                                                   Recurring Charges                             Amount Paid
                                                                                                                                             Previous
     Unit      Tenant           Lease start   Lease end        Rent     Non-Rent           Total         Rent      Non-Rent        Total      Balance    Balance Due
   47-103      Mercy Nyaat        6/1/2023        At will   2,500.00         0.00      2,500.00      2,500.00           0.00   2,500.00          0.00           0.00
               a
   47-104      Devon Root       12/28/2022    12/31/2025    1,750.00         0.00      1,750.00       1,750.00          0.00   1,750.00          0.00           0.00
   47-107      Tom Preston       10/1/2022     1/31/2026    1,700.00         0.00      1,700.00       1,700.00         50.00   1,750.00          0.00           0.00
   47-108      Sandy Knigh       10/1/2022     8/31/2025    1,415.00         0.00      1,415.00       1,415.00          0.00   1,415.00          0.00           0.00
               t
   47-109      Alexander N       10/1/2022    11/30/2025    2,050.00         0.00      2,050.00      2,050.00           0.00   2,050.00          0.00           0.00
               guyen
   47-110*     frank moynih       4/1/2024    4/30/2026     1,950.00         0.00      1,950.00       1,950.00          0.00   1,950.00          0.00           0.00
               an, sharon m
               oynihan
   47-111      Joshua Popi       7/13/2023    11/30/2025    1,875.00         0.00      1,875.00          0.00           0.00      0.00      (1,875.00)          0.00
               elarczyk
   47-112      Idrissa Thiou     10/1/2022    6/30/2025     1,900.00         0.00      1,900.00       1,900.00          0.00   1,900.00          0.00           0.00
               ne
   47-114      Laura Fern        10/1/2022        At will   1,875.00        25.00      1,900.00       1,875.00         75.00   1,950.00          0.00           0.00
   47-115      Karissa Kudil      8/1/2024     7/31/2025    2,125.00         0.00      2,125.00       2,125.00          0.00   2,125.00          0.00           0.00
               e, jeffrey kud
               ile
   47-116      Ravinder Ris      10/1/2022    11/30/2025    2,150.00         0.00      2,150.00       2,150.00          0.00   2,150.00          0.00           0.00
               hi
   47-117      Michael Sulli     10/1/2022    11/30/2025    2,000.00         0.00      2,000.00      2,000.00           0.00   2,000.00          0.00           0.00
               van
   47-118      Sara Thanh,        1/1/2024    12/31/2025    1,750.00         0.00      1,750.00       1,750.00       900.00    2,650.00          0.00         (50.00)
               Chanthan Th
               anh




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                                      Case 1-25-41368-jmm         Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                  Prepared By: Empire Realty USA Corp
                                                                         Rent Paid
                                                                  5/1/2025 - 5/31/2025, Avon Place


                                                                   Recurring Charges                             Amount Paid
                                                                                                                                              Previous
     Unit      Tenant           Lease start   Lease end        Rent     Non-Rent           Total         Rent      Non-Rent         Total      Balance    Balance Due
   47-119*     Amanda Orti        11/1/2023   10/31/2025    2,400.00         0.00      2,400.00       2,414.00          0.00    2,414.00      (338.00)       (352.00)
               z
   47-120      Vijay Krishna     2/5/2023     11/30/2025    2,000.00         0.00      2,000.00      2,000.00           0.00    2,000.00          0.00           0.00
   47-201      Wayne Dero         4/1/2024        At will   1,850.00         0.00      1,850.00       1,850.00          0.00    1,850.00          0.00           0.00
               y
   47-202      Asha Ismail        9/1/2024     8/31/2025    1,925.00         0.00      1,925.00       1,925.00          0.00    1,925.00     (1,080.00)     (1,080.00)
   47-203*     Carmen Baig        5/1/2024    4/30/2026     2,400.00         0.00      2,400.00       1,593.00          0.00    1,593.00          0.00         857.00
   47-204      Barbara Pain      11/4/2022    10/31/2025    1,925.00        25.00      1,950.00       1,900.00          0.00    1,900.00       550.00        2,525.00
               e
   47-205      Makayla Hod        5/1/2025    10/31/2026    2,200.00         0.00      2,200.00       2,100.00      2,200.00    4,300.00          0.00           0.00
               der, Corbett
               e Berger
   47-206      Senthil Chid       6/1/2024        At will   1,850.00         0.00      1,850.00       1,850.00          0.00    1,850.00       450.00         500.00
               ambaram
   47-207      Kathleen Ro       12/1/2023    11/30/2025    1,700.00        50.00      1,750.00       1,800.00          0.00    1,800.00       (150.00)      (200.00)
               mano, Nicho
               las Ramano
   47-208      Sriram Sures     12/21/2022    12/31/2025    1,800.00         0.00      1,800.00       1,800.00      1,800.00    3,600.00          0.00           0.00
               h
   47-209      Karthik Jayar     10/1/2022        At will   1,800.00         0.00      1,800.00       1,800.00          0.00    1,800.00          0.00           0.00
               aman
   47-210      Felipe Rodri       3/1/2024    2/28/2026     2,050.00         0.00      2,050.00      2,050.00      (1,025.00)   1,025.00          0.00           0.00
               guez, Ronni
               e Palma
   47-211*     Elizabeth So     12/16/2022     1/31/2026    1,750.00         0.00      1,750.00       1,750.00          0.00    1,750.00          0.00           0.00
               ker




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                                      Case 1-25-41368-jmm         Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                 Prepared By: Empire Realty USA Corp
                                                                         Rent Paid
                                                                  5/1/2025 - 5/31/2025, Avon Place


                                                                   Recurring Charges                             Amount Paid
                                                                                                                                             Previous
     Unit      Tenant           Lease start   Lease end        Rent     Non-Rent           Total         Rent      Non-Rent        Total      Balance   Balance Due
   47-212      Cole Haymo        10/1/2022     7/31/2025    2,100.00         0.00      2,100.00       2,100.00         25.42   2,125.42          0.00          0.00
               nd
   47-213      Damaris San        2/1/2024        At will   2,500.00         0.00      2,500.00       3,150.00          0.00   3,150.00      4,595.00      3,995.00
               chez
   47-214      Siji John         10/1/2023        At will   1,850.00         0.00      1,850.00       1,850.00          0.00   1,850.00          0.00          0.00
   47-216      Lindsey Smit       4/1/2024     5/15/2025    1,850.00         0.00      1,850.00          0.00           0.00      0.00        633.00       2,533.00
               h, Skylar Fox
               , Lilli Jones
   47-219      Josefina Tol      10/1/2022     5/31/2026    2,550.00        25.00      2,575.00      2,326.00           0.00   2,326.00      9,028.00      9,327.00
               o
   47-220      Quincy Bigg        9/1/2023     8/31/2025    2,125.00         0.00      2,125.00       2,125.00          0.00   2,125.00          0.00          0.00
               s
   47-301      Noelle Hill        3/1/2025    2/28/2026     1,925.00         0.00      1,925.00      5,030.00           0.00   5,030.00      3,105.00          0.00
   47-302      Bhavana Tha        4/1/2023    10/31/2025    1,975.00         0.00      1,975.00       1,975.00          0.00   1,975.00          0.00          0.00
               kur, Vishal Si
               ngh Thakur,
               Kaashvi Tha
               kur
   47-303      Dorcas Men        10/1/2022        At will   2,500.00         0.00      2,500.00      2,500.00           0.00   2,500.00          0.00          0.00
               sah
   47-305      Linda March       10/1/2022        At will   1,950.00         0.00      1,950.00       1,950.00          0.00   1,950.00          0.00          0.00
   47-306      Adam Arakel      3/20/2023         At will   1,925.00         0.00      1,925.00       1,925.00          0.00   1,925.00          0.00          0.00
               ian
   47-307      Joseph Kadi        4/1/2025     3/31/2026    1,925.00         0.00      1,925.00       1,925.00          0.00   1,925.00          0.00          0.00
               ma, Gerdy A
               ntoine




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                                      Case 1-25-41368-jmm         Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                  Prepared By: Empire Realty USA Corp
                                                                         Rent Paid
                                                                  5/1/2025 - 5/31/2025, Avon Place


                                                                   Recurring Charges                             Amount Paid
                                                                                                                                              Previous
     Unit      Tenant           Lease start   Lease end        Rent     Non-Rent           Total         Rent      Non-Rent         Total      Balance   Balance Due
   47-309      Kwame Appi       3/30/2023         At will   2,000.00         0.00      2,000.00      2,000.00        (500.00)   1,500.00          0.00          0.00
               ah, Love Am
               oah
   47-310*     Tara Dean, C       5/1/2024        At will   1,950.00         0.00      1,950.00       1,950.00        975.00    2,925.00          0.00          0.00
               hristopher P
               orylo
   47-312      Rick Thomas       10/1/2022    11/30/2025    2,000.00         0.00      2,000.00      2,000.00           0.00    2,000.00          0.00          0.00
   47-313      Lora Anders        2/1/2025     1/31/2026    1,925.00         0.00      1,925.00      3,850.00           0.00    3,850.00          0.00     (1,925.00)
               on, Andrei A
               tsian
   47-314      Amy Arlin         10/1/2022     7/31/2025    2,150.00         0.00      2,150.00       2,150.00          0.00    2,150.00          0.00          0.00
   47-315      Douglas Bro       10/1/2022        At will   2,150.00         0.00      2,150.00       2,150.00          0.00    2,150.00          0.00          0.00
               wn
   47-316      Miguel Espa        1/1/2024        At will   2,250.00         0.00      2,250.00       1,350.00          0.00    1,350.00      3,900.00      4,500.00
               da
   47-317      Bwana Yusu         6/1/2023        At will   3,100.00         0.00      3,100.00      2,348.00           0.00    2,348.00          0.00       802.00
               f
   47-318      Rachel Kenn      3/10/2023         At will   2,450.00         0.00      2,450.00      2,450.00           0.00    2,450.00          0.00          0.00
               edy
   47-319*     Venkata Miri      10/1/2022    6/30/2025     1,850.00         0.00      1,850.00       1,850.00          0.00    1,850.00          0.00          0.00
               yala, Diyana
               Miriyala
   47-320      Travis Schoe       8/1/2024     7/31/2025    1,925.00         0.00      1,925.00       1,925.00          0.00    1,925.00          0.00          0.00
               n
   48-103      Rohit Kumar       10/1/2022        At will   2,350.00         0.00      2,350.00      2,350.00           0.00    2,350.00          0.00          0.00
   48-104      Kenneth He        10/1/2022    6/30/2025     1,725.00         0.00      1,725.00       1,725.00          0.00    1,725.00          0.00          0.00
               yne


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                                      Case 1-25-41368-jmm         Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                   Prepared By: Empire Realty USA Corp
                                                                         Rent Paid
                                                                  5/1/2025 - 5/31/2025, Avon Place


                                                                   Recurring Charges                             Amount Paid
                                                                                                                                               Previous
     Unit      Tenant           Lease start   Lease end        Rent     Non-Rent           Total         Rent      Non-Rent          Total      Balance    Balance Due
   48-105      Sheryl Duby       10/1/2022        At will   1,590.00         0.00      1,590.00         211.00           0.00      211.00       4,155.10      5,584.10
   48-108      Joshua McL        10/1/2022        At will   1,875.00         0.00      1,875.00       1,875.00           0.00    1,875.00          0.00           0.00
               amb
   48-109      Muthukrishn       10/1/2022        At will   2,175.00         0.00      2,175.00       2,175.00           0.00    2,175.00          0.00           0.00
               an Krishnasa
               my Sundarar
               ajan
   48-110      Rebecca Bo        10/1/2022    11/30/2025    2,025.00         0.00      2,025.00      2,025.00            0.00    2,025.00          0.00           0.00
               wling
   48-111      Jordan Gom         6/1/2024        At will   1,700.00         0.00      1,700.00       1,700.00      (1,700.00)      0.00           0.00           0.00
               es
   48-112      Fabializ Naje      5/1/2024        At will   1,950.00         0.00      1,950.00       1,851.00           0.00    1,851.00         99.00         198.00
               ra, Maria Riv
               era
   48-113      Breanna Ma        10/1/2022     5/21/2025    1,875.00         0.00      1,875.00          0.00            0.00       0.00       3,850.00       5,775.00
               comber, Coli
               n Dwyer
   48-114      Patrick Case      11/4/2022        At will   2,050.00        25.00      2,075.00          0.00            0.00       0.00       7,825.00       9,950.00
               y
   48-116      Jennifer Go        9/1/2023     8/31/2025    1,840.00         0.00      1,840.00       1,840.00           0.00    1,840.00          0.00           0.00
               mez
   48-117      John Parent,      12/1/2022     5/31/2026    1,975.00         0.00      1,975.00       1,050.00           0.00    1,050.00       800.00        1,725.00
               Nicole Paren
               t
   48-118      Joanne Mad       11/15/2022     7/31/2025    1,700.00         0.00      1,700.00       1,700.00           0.00    1,700.00          0.00           0.00
               sen




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                                      Case 1-25-41368-jmm         Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                  Prepared By: Empire Realty USA Corp
                                                                         Rent Paid
                                                                  5/1/2025 - 5/31/2025, Avon Place


                                                                   Recurring Charges                             Amount Paid
                                                                                                                                              Previous
     Unit      Tenant           Lease start   Lease end        Rent     Non-Rent           Total         Rent      Non-Rent         Total      Balance    Balance Due
   48-119*     Kevin Wickst       6/1/2023        At will   2,600.00         0.00      2,600.00        766.66      (1,633.32)   (866.66)      (866.66)       1,833.34
               rom, Grace
               Wickstrom
   48-120      Michele Kyle       7/1/2023        At will   1,925.00         0.00      1,925.00          0.00           0.00       0.00         (42.00)      1,933.00
               s
   48-202      Weiling Li         2/1/2024     1/31/2026    1,950.00         0.00      1,950.00       1,950.00          0.00    1,950.00          0.00           0.00
   48-203      Robin Linds       10/1/2022        At will   2,250.00        25.00      2,275.00      2,250.00          25.00    2,275.00          0.00           0.00
               ey
   48-204      Rohitkumar       10/31/2024    9/30/2025     1,600.00         0.00      1,600.00       1,600.00          0.00    1,600.00          0.00           0.00
               Babulal Pate
               l
   48-205      Kirby Huget       10/1/2022     8/31/2025    2,100.00         0.00      2,100.00       1,446.00          0.00    1,446.00          0.00        654.00
   48-206      Manickavel        10/1/2022     8/31/2025    1,925.00        25.00      1,950.00       1,925.00         25.00    1,950.00          0.00           0.00
               Ramar
   48-207      Chelsea Wal       10/1/2022     5/14/2025    1,600.00         0.00      1,600.00          0.00           0.00       0.00       5,300.00       6,950.00
               sh, Brian Mill
               er
   48-208      John Pendle       10/1/2022     7/31/2025    1,600.00         0.00      1,600.00       1,600.00      1,600.00    3,200.00          0.00           0.00
               ton
   48-209      Ricardo Rami       11/1/2023    3/31/2026    2,050.00         0.00      2,050.00      2,050.00           0.00    2,050.00          0.00           0.00
               rez Jr, Steph
               anie Lanzo-R
               amirez
   48-210      Hal Sacks         10/1/2022        At will   1,560.00         0.00      1,560.00       1,560.00          0.00    1,560.00          0.00           0.00
   48-211      Donna McCo         6/1/2024        At will   1,600.00         0.00      1,600.00       1,600.00         47.84    1,647.84          0.00           0.00
               rmick




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                                      Case 1-25-41368-jmm         Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                 Prepared By: Empire Realty USA Corp
                                                                         Rent Paid
                                                                  5/1/2025 - 5/31/2025, Avon Place


                                                                   Recurring Charges                             Amount Paid
                                                                                                                                             Previous
     Unit      Tenant           Lease start   Lease end        Rent     Non-Rent           Total         Rent      Non-Rent         Total     Balance   Balance Due
   48-212      Cassondra T       12/1/2023    11/30/2025    2,200.00         0.00      2,200.00      2,200.00          65.78   2,265.78          0.00          0.00
               inley
   48-215      Jamyra Alex      2/12/2024         At will   1,850.00         0.00      1,850.00          0.00           0.00       0.00      7,750.00      9,650.00
               ander
   48-216      Elliot Pollock     6/1/2023    5/30/2025     2,200.00         0.00      2,200.00          0.00           0.00       0.00      2,225.00      4,475.00
   48-217      Abdullatif Alt     8/1/2024     7/31/2025    2,050.00         0.00      2,050.00      2,050.00           0.00   2,050.00          0.00          0.00
               hbyany
   48-218      Gayane Gen         7/1/2024    6/30/2025     1,725.00         0.00      1,725.00       1,725.00        103.07   1,828.07          0.00          0.00
               ov, Gregoriy
               Genov
   48-219      Rhonda Hea        10/1/2022     1/31/2026    1,966.00         0.00      1,966.00       1,130.00          0.00    1,130.00     2,687.00      3,573.00
               rd
   48-220      Victoria Baz       5/1/2025    4/30/2026     1,925.00         0.00      1,925.00          0.00       1,925.00   1,925.00          0.00          0.00
               zano
   48-221      Seenivasan        10/1/2022    4/30/2026     1,650.00         0.00      1,650.00       1,650.00          0.00   1,650.00          0.00          0.00
               Somasundar
               am
   48-302      Suresh Kum        10/1/2022    6/30/2025     1,930.00         0.00      1,930.00       1,930.00          0.00   1,930.00          0.00          0.00
               ar
   48-303      Liyu Han           4/1/2025     3/31/2026    2,500.00         0.00      2,500.00      2,500.00           0.00   2,500.00          0.00          0.00
   48-305      Konstantia P      10/1/2022    4/30/2026     1,800.00         0.00      1,800.00      3,802.00          23.32   3,825.32      2,002.00          0.00
               apapateras
   48-306      Elijah Rosen      10/1/2022    6/30/2025     1,650.00         0.00      1,650.00       1,650.00          0.00   1,650.00      (300.00)      (300.00)
               thal
   48-307      Max Rook          10/1/2022     3/31/2026    2,050.00         0.00      2,050.00      2,050.00           0.00   2,050.00          0.00          0.00
   48-308      Sahirah Muh       10/1/2022        At will   1,950.00         0.00      1,950.00       1,950.00          0.00   1,950.00          0.00          0.00
               ammad


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                                      Case 1-25-41368-jmm             Doc 86     Filed 06/20/25        Entered 06/20/25 18:19:42

                                                                                                                                       Prepared By: Empire Realty USA Corp
                                                                             Rent Paid
                                                                      5/1/2025 - 5/31/2025, Avon Place


                                                                       Recurring Charges                             Amount Paid
                                                                                                                                                   Previous
     Unit      Tenant           Lease start   Lease end            Rent     Non-Rent           Total         Rent      Non-Rent          Total      Balance    Balance Due
   48-310      Amanda No         10/1/2022    4/30/2026         1,700.00         0.00      1,700.00       1,700.00           0.00    1,700.00          0.00           0.00
               wak
   48-311      Davien Barn        4/1/2024     3/31/2026       2,200.00          0.00      2,200.00      2,450.00            0.00    2,450.00       250.00            0.00
               es, Alyssa B
               erthiaume
   48-312      Sheldon Sch       10/1/2022    4/30/2026         1,975.00         0.00      1,975.00       1,975.00      (1,975.00)      0.00           0.00           0.00
               wartz
   48-313      Waseem Isla        6/1/2023        At will      2,075.00          0.00      2,075.00      2,075.00            0.00    2,075.00          0.00           0.00
               m
   48-314      Jeffrey Sher      10/1/2022     1/31/2026        1,850.00         0.00      1,850.00       1,850.00           0.00    1,850.00        (40.00)        (40.00)
               man
   48-315*     Karen Bisset       2/1/2023        At will       1,850.00         0.00      1,850.00       1,850.00           0.00    1,850.00          0.00           0.00
               t
   48-316      Tania Pimen       12/1/2024    11/30/2025       2,050.00          0.00      2,050.00        500.00            0.00     500.00       2,200.00       3,800.00
               tel
   48-317      Jaagruti Mis       4/1/2024        At will       1,600.00         0.00      1,600.00       1,600.00           0.00    1,600.00          0.00           0.00
               hra
   48-319      Meaghan En        10/1/2022        At will      2,350.00          0.00      2,350.00          0.00            0.00       0.00       2,400.00       4,800.00
               gel, Christop
               her Cassis
   48-320      Bernie Hern      4/28/2023     9/30/2025         2,150.00         0.00      2,150.00       2,150.00         50.00     2,200.00          0.00           0.00
               andez, Shirl
               ey Hernand
               ez, Rachel H
               ernandez
   Total for Avon Place                                     $21 6,451 .00   $225.00 $21 6,676.00 $1 90,837.66 $3,452.79 $1 94,290.45 $61 ,837.44 $90,692.44




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                                                                                                                                       Prepared By: Empire Realty USA Corp
                                                                            Rent Paid
                                                                     5/1/2025 - 5/31/2025, Avon Place


                                                                     Recurring Charges                               Amount Paid
                                                                                                                                                   Previous
     Unit      Tenant           Lease start   Lease end          Rent     Non-Rent             Total         Rent      Non-Rent          Total      Balance   Balance Due

   Grand total                                            $21 6,451 .00   $225.00 $21 6,676.00 $1 90,837.66 $3,452.79 $1 94,290.45 $61 ,837.44 $90,692.44




 Summary                                                             Recurring Charges                               Amount Paid
                                                                                                                                                   Previous
 Property                                                        Rent     Non-Rent             Total         Rent      Non-Rent          Total      balance   Balance due
 Avon Place                                                 216,451.00       225.00      216,676.00     190,837.66      3,452.79   194,290.45     61,837.44     90,692.44

 Grand total                                              $21 6,451 .00   $225.00 $21 6,676.00 $1 90,837.66 $3,452.79 $1 94,290.45 $61 ,837.44 $90,692.44




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                                                      T         STATEMENT OF ACCOUNT



    AVON PLACE LLC                                              Page:                                         1 of 2
    DIP CASE 25-41368 EDNY                                      Statement Period:          May 01 2025-May 31 2025
    3284 N 29TH AVE                                             Cust Ref #:                  4446984456-039-T-###
    HOLLYWOOD FL 33020                                          Primary Account #:                     444-6984456




Chapter 11 Checking
AVON PLACE LLC                                                                                        Account # 444-6984456
DIP CASE 25-41368 EDNY


ACCOUNT SUMMARY
Beginning Balance                        0.25                             Average Collected Balance               30,453.19
Other Credits                      192,724.86                             Interest Earned This Period                  0.00
                                                                          Interest Paid Year-to-Date                   0.00
Electronic Payments                 60,779.92                             Annual Percentage Yield Earned             0.00%
Other Withdrawals                  113,373.39                             Days in Period                                 31
Ending Balance                      18,571.80



                                                   Total for this cycle          Total Year to Date
                    Grace Period OD/NSF Refund                      $0.00                       $0.00


DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                      AMOUNT
05/19              WIRE TRANSFER INCOMING, 1/PLEASANT VALLEY HOLDINGS NY LLC                                          10.00
05/20              WIRE TRANSFER INCOMING, 1/PLEASANT VALLEY HOLDINGS NY LLC                                     192,714.86
                                                                                             Subtotal:           192,724.86
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                      AMOUNT
05/30              CCD DEBIT, THE FIDELLA AGEN PAYMENTS 24443908                                                  60,779.92
                                                                                             Subtotal:            60,779.92
Other Withdrawals
POSTING DATE       DESCRIPTION                                                                                      AMOUNT
05/21              WIRE TRANSFER OUTGOING, Hahn and Hessen LLP Master Escrow                                     113,343.39
05/21              WIRE TRANSFER FEE                                                                                  30.00
                                                                                             Subtotal:           113,373.39


DAILY BALANCE SUMMARY
DATE                                 BALANCE                              DATE                                    BALANCE
04/30                                   0.25                              05/21                                  79,351.72
05/19                                  10.25                              05/30                                  18,571.80
05/20                             192,725.11




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
              Case 1-25-41368-jmm                                Doc 86              Filed 06/20/25                Entered 06/20/25 18:19:42


    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1. Your ending balance shown on this
    as follows:                                                         statement is:
                                                                                                                                             Ending                         18,571.80
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2. List below the amount of deposits or
                                                                        credit transfers which do not appear
•   Subtract any automatic payments,                                    on this statement. Total the deposits                                Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                        and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3. Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4. List below the total amount of                                       Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                           withdrawals that do not appear on
                                                                        this statement. Total the withdrawals
•   Review all withdrawals shown on this                                and enter on Line 4.                                                 Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5. Subtract Line 4 from 3. This adjusted

•   Follow instructions 2-5 to verify your                              balance should equal your account
    ending account balance.                                             balance.                                                            Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                      T         STATEMENT OF ACCOUNT



    AVON PLACE LLC                                              Page:                                      1 of 2
    DIP CASE 25-41368 EDNY                                      Statement Period:       May 01 2025-May 31 2025
    3284 N 29TH AVE                                             Cust Ref #:               4446984349-039-T-###
    HOLLYWOOD FL 33020                                          Primary Account #:                  444-6984349




Chapter 11 Checking
AVON PLACE LLC                                                                                     Account # 444-6984349
DIP CASE 25-41368 EDNY


ACCOUNT SUMMARY
Beginning Balance                        0.25                             Average Collected Balance                   0.25
                                                                          Interest Earned This Period                 0.00
Ending Balance                           0.25                             Interest Paid Year-to-Date                  0.00
                                                                          Annual Percentage Yield Earned            0.00%
                                                                          Days in Period                                31


                                                   Total for this cycle       Total Year to Date
                    Grace Period OD/NSF Refund                      $0.00                    $0.00


DAILY ACCOUNT ACTIVITY
No Transactions this Statement Period




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1. Your ending balance shown on this
    as follows:                                                         statement is:
                                                                                                                                             Ending                                 0.25
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2. List below the amount of deposits or
                                                                        credit transfers which do not appear
•   Subtract any automatic payments,                                    on this statement. Total the deposits                                Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                        and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3. Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4. List below the total amount of                                       Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                           withdrawals that do not appear on
                                                                        this statement. Total the withdrawals
•   Review all withdrawals shown on this                                and enter on Line 4.                                                 Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5. Subtract Line 4 from 3. This adjusted

•   Follow instructions 2-5 to verify your                              balance should equal your account
    ending account balance.                                             balance.                                                            Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                                                     Bank of America Statement




                     P.O. Box 15284
                     Wilmington, DE 19850
                                                                                                                          Customer service information


                                                                                                                          1.888.BUSINESS (1.888.287.4637)

                                                                                                                          bankofamerica.com
                       AVON PLACE LLC
                                                                                                                          Bank of America, N.A.
                       710 AVENUE L
                                                                                                                          P.O. Box 25118
                       BROOKLYN, NY 11230-5112                                                                            Tampa, FL 33622-5118




                     Your Business Advantage Relationship Banking
                     Preferred Rewards for Bus Platinum Honors
                     for May 1, 2025 to May 31, 2025                                                               Account number: 4830 9278 9150
                     AVON PLACE LLC

                     Account summary
                     Beginning balance on May 1, 2025                                              $153.27     # of deposits/credits: 1
                     Deposits and other credits                                                    2,348.00    # of withdrawals/debits: 0
                     Withdrawals and other debits                                                     -0.00    # of items-previous cycle¹: 0
                     Checks                                                                           -0.00    # of days in cycle: 31
                     Service fees                                                                     -0.00    Average ledger balance: $2,198.30
                     Ending balance on May 31, 2025                                             $2,501.27      ¹Includes checks paid, deposited items and other debits




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                              We know you can bank anywhere.
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                     PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                        Page 1 of 4
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AVON PLACE LLC ! Account # 4830 9278 9150 ! May 1, 2025 to May 31, 2025


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                    Case 1-25-41368-jmm                 Doc 86         Filed 06/20/25            Entered 06/20/25 18:19:42


                                                                                                                         Your checking account
                     AVON PLACE LLC ! Account # 4830 9278 9150 ! May 1, 2025 to May 31, 2025




                     Deposits and other credits
                     Date         Description                                                                                                          Amount

                     05/05/25     WINDSOR LOC-7841 DES:HAP PYMT ID:XXXXXXXXX INDN:AVON PLACE LLC                             CO                      2,348.00
                                  ID:1060865782 CCD

                     Total deposits and other credits                                                                                             $2,348.00



                     Daily ledger balances
                     Date                             Balance ($)    Date                                   Balance($)

                     05/01                              153.27       05/05                                  2,501.27




MARKETING_BANNER_3




                                                Tips to help protect yourself from trending scams:
                                                - Do not be pressured to act quickly - it could be an imposter trying to steal your money.
                                                - If asked to transfer money unexpectedly, use caution - it could be a scam.
                                                - Never grant remote access or download apps at the request of someone you do not know.

                                                Learn more about trending scams.
                                                Scan the code or visit bofa.com/HelpProtectYourself.

                                                When you use the QRC feature, certain information is collected from your mobile device
                                                for business purposes.




                                                                                                                                             Page 3 of 4
              Case 1-25-41368-jmm             Doc 86       Filed 06/20/25   Entered 06/20/25 18:19:42

AVON PLACE LLC ! Account # 4830 9278 9150 ! May 1, 2025 to May 31, 2025




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                                       Case 1-25-41368-jmm                           Doc 86   Filed 06/20/25     Entered 06/20/25 18:19:42

                                                                                     Bank of America Statement




                     P.O. Box 15284
                     Wilmington, DE 19850
                                                                                                                          Customer service information


                                                                                                                          1.888.BUSINESS (1.888.287.4637)

                                                                                                                          bankofamerica.com
                       AVON PLACE LLC
                                                                                                                          Bank of America, N.A.
                       710 AVENUE L
                                                                                                                          P.O. Box 25118
                       BROOKLYN, NY 11230-5112                                                                            Tampa, FL 33622-5118




                     Your Business Advantage Relationship Banking
                     Preferred Rewards for Bus Platinum Honors
                     for May 1, 2025 to May 31, 2025                                                               Account number: 4830 9278 9147
                     AVON PLACE LLC

                     Account summary
                     Beginning balance on May 1, 2025                                             $2,572.55    # of deposits/credits: 1
                     Deposits and other credits                                                    1,113.28    # of withdrawals/debits: 0
                     Withdrawals and other debits                                                     -0.00    # of items-previous cycle¹: 0
                     Checks                                                                           -0.00    # of days in cycle: 31
                     Service fees                                                                     -0.00    Average ledger balance: $3,685.83
                     Ending balance on May 31, 2025                                             $3,685.83      ¹Includes checks paid, deposited items and other debits




MARKETING_BANNER_1




                              We know you can bank anywhere.
                                Thank you for choosing us.



                     PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                        Page 1 of 6
               Case 1-25-41368-jmm             Doc 86       Filed 06/20/25        Entered 06/20/25 18:19:42

AVON PLACE LLC ! Account # 4830 9278 9147 ! May 1, 2025 to May 31, 2025


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                                                                            Your checking account
                     AVON PLACE LLC ! Account # 4830 9278 9147 ! May 1, 2025 to May 31, 2025




                     Deposits and other credits
                     Date                            Description                                                                                                          Amount

                     05/01/25                        ACH RETURN/101050 RECOVERY GEICO 09/17/24 BML250312-003146 FDES NNF 0001488                                        1,113.28
                                                     450235

                     Total deposits and other credits                                                                                                                $1,113.28


                     Service fees
                     The Monthly Fee on your primary Business Advantage Relationship Banking account was waived for the statement period ending 04/30/25. A
                     check mark below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
                                NOT CHECKED.
                                               $15,000+ combined average monthly balance in linked business accounts has not been met
                     CHECKED.




                                               Become a member of Preferred Rewards for Business has been met

                     For information on Small Business products and services or to link an existing account, please call 1.888.BUSINESS. For more information
                     about the Preferred Rewards for Business program and which fees can be waived based on account eligibility and enrollment, see the
                     Business Schedule of Fees located at bankofamerica.com/businessfeesataglance.




                     Daily ledger balances
                     Date                                                Balance ($)

                     05/01                                               3,685.83




MARKETING_BANNER_3




                                                                   Tips to help protect yourself from trending scams:
                                                                   - Do not be pressured to act quickly - it could be an imposter trying to steal your money.
                                                                   - If asked to transfer money unexpectedly, use caution - it could be a scam.
                                                                   - Never grant remote access or download apps at the request of someone you do not know.

                                                                   Learn more about trending scams.
                                                                   Scan the code or visit bofa.com/HelpProtectYourself.

                                                                   When you use the QRC feature, certain information is collected from your mobile device
                                                                   for business purposes.




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AVON PLACE LLC ! Account # 4830 9278 9147 ! May 1, 2025 to May 31, 2025




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AVON PLACE LLC ! Account # 4830 9278 9147 ! May 1, 2025 to May 31, 2025




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AVON PLACE LLC ! Account # 4830 9278 9147 ! May 1, 2025 to May 31, 2025




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